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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :       Criminal No. 21-670 (CJN)
                                    :
v.                                  :
                                    :
STEPHEN K. BANNON,                   :
                                     :
            Defendant.               :
____________________________________:

           MOTION IN LIMINE ON PRESENTING INDICTMENT TO THE JURY
          Defendant Stephen K. Bannon, by and through his undersigned counsel, respectfully

moves in limine for a pretrial ruling that the entirety of the Indictment in this case will not be read

to the jury, nor will the jury be given the Indictment during its deliberations. In support of this

motion, we state as follows:

          On November 12, 2021, Mr. Bannon was charged in a two count Indictment that alleged

that his conduct after receiving a subpoena dated September 23, 2021, issued by the Select

Committee to Investigate the January 6th Attack on the United States Capitol (“Select

Committee”), constituted contempt of Congress, in violation of 2 U.S.C. § 192. [Doc. 1]. It is well-

settled that an indictment is not evidence. Taylor v. Kentucky, 436 U.S. 478, 485 (1978) (defendant

is entitled to determination of guilt or innocence solely on the basis of evidence, and not on grounds

of indictment or other circumstances not adduced as proof at trial); Dallago v. United States, 427

F.2d 546 (D.C. Cir. 1969); see also Criminal Jury Instructions for the District of Columbia

(“Redbook”), No. 2.106 (5th ed. 2021) (jury “must not consider the indictment as evidence of any

kind”).

          The Indictment in this case is a “speaking indictment.” Its first seven pages make a variety

of allegations, each of which would need to be proved by competent evidence introduced at trial
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in order to be considered by the jury. Mr. Bannon therefore requests that the entirety of the

Indictment not be read to the jury during trial or given to the jury during its deliberations. We

have no objection, however, to the language of Count One and Count Two being read to and

presented to the jury. [Doc. 1 at ¶¶ 22 – 25].

       WHEREFORE, Mr. Bannon, by and through his undersigned counsel, respectfully asks the

Court to grant the instant Motion.

Dated: June 17, 2022                             Respectfully submitted,

                                                 SILVERMAN|THOMPSON|SLUTKIN|WHITE, LLC

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                                                 Counsel for Defendant Stephen K. Bannon


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                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 17th day of June 2022, a copy of the foregoing Motion

In Limine On Presenting Indictment To The Jury was served via the Court’s CM/ECF system on

registered parties and counsel.


                                             /s/ M. Evan Corcoran
                                          M. Evan Corcoran (D.C. Bar No. 440027)
